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10
                              IN THE UNITED STATES DISTRICT COURT
11                                FOR THE DISTRICT OF ARIZONA
12
                 United States of America,                     CR-22-01917-TUC-JCH(BGM)
13                       Plaintiff,
                                                             MOTION TO PRECLUDE
14
                             vs.                         GOVERNMENT’S EXPERT WITNESS
15                                                              (ECF DOC. 60)
                    James Mark Tuohy,
16                     Defendant.
17
18             The government intends to call ATF Agent Michael Eldredge as an expert witness
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     to testify about the alleged improvised explosive device “IED” seized in this case. See Doc.
20
     60. The Government seeks to introduce the opinion memorialized in the report prepared
21
22   and signed by Mr. Danny R. Waltenbaugh Jr. through the testimony of Mr. Eldredge. The
23   defense objects to the Government’s request.
24
               In Bullcoming v. New Mexico, 564 U.S. 647, 658–59 (2011), the Supreme Court
25
     stated:
26
27                   The Sixth Amendment's Confrontation Clause confers upon the
               accused, “[i]n all criminal prosecutions, ... the right ... to be confronted with
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               the witnesses against him.” In Crawford the Court held that fidelity to the
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1           Confrontation Clause permitted admission of “[t]estimonial statements of
            witnesses absent from trial ... only where the declarant is unavailable, and
2           only where the defendant has had a prior opportunity to cross-
3           examine,” id., at 59, 124 S.Ct. 1354. See Michigan v. Bryant, 562 U.S. 344, 354,
            131 S.Ct. 1143, 1153, 179 L.Ed.2d 93 (2011) (“[F]or testimonial evidence to be
4           admissible, the Sixth Amendment ‘demands what the common law required:
5           unavailability [of the witness] and a prior opportunity for cross-
            examination.’” (quoting Crawford, 541 U.S., at 68, 124 S.Ct. 1354)). Melendez–
6           Diaz, relying on Crawford 's rationale, refused to create a “forensic evidence”
7           exception to this rule. 557 U.S., at 317 – 321, 129 S.Ct., at 2536–2538.5 An
            analyst's certification prepared in connection with a criminal investigation
8           or prosecution, the Court held, is “testimonial,” and therefore within the
9           compass of the Confrontation Clause. Id., at 321 – 324, 129 S.Ct., at 2537–
            2540.
10
            The examination and the corresponding report of the improvised explosive device
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12   “IED” seized in connection with the instant case were submitted by Danny R.

13   Waltenbaugh Jr., Senior Explosives Enforcement Officer/Specialist of the Bureau of
14
     Alcohol, Tabacco, Firearms and Explosives. Thus, allowing the Government to introduce
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     the report through Mr. Eldredge would violate Mr. Tuohy’s Sixth Amendment right to
16
17   Confrontation.
18          Mr. Waltenbaugh’s report is an out-of-court statement. The statement is
19
     testimonial, meaning it was created solely for an “evidentiary purpose”. See U.S. v. Melendez-
20
21   Diaz, 557 U.S., at 310, 129 S.Ct. 2527 cited in Bullcoming. The report notes that Mr.

22   Waltenbaugh examined the physical evidence. He evaluated the materials and developed
23
     an opinion as to the design, construction, functioning, effects, and technical classification
24
     of the materials. His opinion was then memorialized in a Report of Examination. The
25
26   Report was then signed by Mr. Waltenbaugh and approved by his program manager, Mr.
27   Kenneth Erickson. See AUSA disclosure, p. 219.
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1           The Government ultimately seeks to elicit the opinion that the materials involved
2    in the investigation of the case would be properly identified as an explosive bomb as
3
     defined by the statutory provisions under title 26 U.S.C. § 5845(f)(1)(A) and title 18 U.S.C.
4
5    § 841(d), through Mr. Eldredge. However, Mr. Eldredge performed no tests nor examined

6    the alleged destructive device. He did not produce the Report of Examination regarding
7    the IED. Mr. Eldredge notes he only examined the reports regarding the case, which
8
     includes Mr. Waltenbaugh’s report and adopts it. See AUSA disclosure, pg. 424.
9
10          Mr. Eldredge’s testimony would simply extend to repeating what is on the report,

11   however, he may not respond to specific questions as to the testing or evaluation of the
12
     physical evidence. Allowing Mr. Eldredge to testify would hinder Mr. Tuohy’s ability to
13
     question the reliability of the tests conducted to examine the device and question the
14
15   expert on other factors he could or should have considered at the time of examining the

16   physical evidence. Mr. Eldredge cannot answer these questions.
17
            For the Government to introduce Mr. Waltenbaugh’s opinion testimony through
18
     Mr. Eldredge it must, first, show that the declarant (Mr. Waltenbaugh) is unavailable and,
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20   second, to have afforded Mr. Tuohy a prior opportunity to cross-examine him. The

21   Government has not complied with this mandate. It has not asserted nor certified that
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     Mr. Waltenbaugh is unavailable as a witness, nor has it afforded an opportunity for Mr.
23
     Tuohy to confront this expert regarding his report and how he arrived at his expert
24
25   opinion.

26          The Supreme Court was clear that: “the Confrontation Clause does not tolerate
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     dispensing with confrontation simply because the court believes that questioning one
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                                                  3
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1    witness about another's testimonial statements provides a fair enough opportunity for
2    cross-examination.” Thus, allowing Mr. Eldredge to testify in lieu of Mr. Waltenbaugh
3
     would violate Mr. Tuohy’s right to confrontation.
4
5          Mr. Tuohy respectfully moves this Court to preclude the Government from

6    allowing the testimony of ATF Agent Michael Eldredge as an expert witness.
7          RESPECTFULLY SUBMITTED:                  July 24, 2023
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                                                    JON M. SANDS
9                                                   Federal Public Defender
10
                                                    s/Ángeles Rodríguez-Madera & Matei Tarail
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